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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                         Criminal No. 21-cr-261 (PAM/ECW)

 UNITED STATES OF AMERICA,

                      Plaintiff,

         v.                                NOTICE OF APPEARANCE

 JERMAINE DONTAE MORRIS,

                      Defendant.


        Please add the following Assistant United States Attorney to the above-captioned

case:

        Add AUSA

        Benjamin Bejar

Dated: September 29, 2022                       Respectfully submitted,

                                                ANDREW M. LUGER
                                                United States Attorney

                                                /s/ Benjamin Bejar

                                                BY: BENJAMIN BEJAR
                                                Assistant U.S. Attorney
                                                Attorney ID No. 0351131
